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                                UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA

     v.
                                                        Case No. 1:23-cr-48 (ABJ-2)

 JOEI GALLMAN,

      Defendant.

          MOTION FOR ADMISSION OF ATTORNEY CYNTHIA CRICK PRO HAC VICE

          Pursuant to LCrR 44.1 (c), Defendant moves for the admission and appearance of attorney Cynthia

Crick pro hac vice in the above-entitled action. This motion is supported by the Declaration of Cynthia

Crick, filed herewith. As set forth in Ms. Crick’s declaration, she is admitted and an active member in good

standing of the following courts and bars: the South Carolina Bar and the U.S. District Court for the District

of South Carolina. This motion is supported and signed by William M. Sullivan, Jr., an active and

sponsoring member of the Bar of this Court.



                                                  Respectfully submitted,


                                                  /s/ William M. Sullivan, Jr.
                                                  William M. Sullivan, Jr.,
                                                  DC Bar # 467269
                                                  Pillsbury, Winthrop, Shaw & Pittman, LLP
                                                  1200 Seventeenth Street, NW
                                                  Washington, D.C. 20036
                                                  (202) 663-8027



This 18th day of April 2023.
